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Case: 1:15-cv-07362 Document #: 6 Filed: 08/27/15 Page 1 of 19 PagelD #:110

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RECEIVED

THOMAS G. BRUTON
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Judge Amy J. St. Eve
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ILLINOLS DEPARTMENT OF CORRECTIONS
OFFENDER'S GRIEVANCE
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Facility where grievance

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Present Facility: . oy
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NATURE OF GAIEVANCE:

   

 

{7} Personal Propedy [1 Mail Handing [J] Restoration of Good Time [J] ADA Dissuility Accommodation

(da Statt Conduct (a Dietary (C] Medical Treatment CO HIPAA —

{(T] Teanster Denial by Facility C} Transter Denial by Transter Coordinator Tei Cther opesivy) Vet Vaud i Soe
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Date of Report Facikty where mcued / 8¢ 7 a a 2014
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he protective custody Status TON Rasy

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Complete: Attach a copy of any partinant document (such as a Diuciptinary Report, Shakedown Record, etc.) and send ta: .
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Counselor, unless the tissue involves discipiing, is deemed an emergency, of iS Subject to direct raview by the Adminstaive Revie ape
Grievance Officer, only if the issue involves Ciscipline at the present facility or issue not resolved by Counselor.” Ate.
Chiat Administrative Officer, only if EMERGENCY grievance. °
Administrative Review Board, only if the issue invotves transfer dental by the Transter Coordinator, pratective custo veil

  

administration of psychutropic drugs, issues from another facility except personal propery issues, Of i9suEes Gag gers olve . at
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Surnmary of Grievance (Provide infannation including @ dascription af what happened, when and where it nappened, and the name or idGnitityin, pe attion

 

 

 

    

 

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i Counselor's Response (it applicapie) }

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Case: 1:15-cv-07362 Document #: 6 Filed: 08/27/15 Page 17 of 19 PagelD #:126

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OFFENDER'S GRIEVANCE (Continue

 

  

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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ga Corrections Director
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Route 53, P.O. Box 112 Telephone: (815) 727 -3607
Joliet, IL 60434 TDD: (800) 526-0844
MEMORANDUM

DATE: 12/15/14 “D q 3b

TO: McCottrell NO0789
FROM: Grievance Office A

SUBJECT: Grievance #3645
The attached grievance is being returned for the following reason:

You may submit your grievance to the grievance office with the DR and
summary or you may send grievances regarding tickets directly to the ARB with same
attached.

_xX It was not filed within 60 days of discovery of the incident, occurrence, or
problem which gives rise to the grievance as required in DR 504F, Grievance
Procedures for Committed Persons. “Arrived in Stateville back in Sept or Oct of

2009.”

Submit to your cell house Counselor for response.
Original GRIEVANCE required.
Already addressed by Grievance Office/CAO at facility level.

Issue is currently being reviewed by the Grievance Office. *You will receive a
copy of the Grievance and decision when it is completed.
Issue previously addressed GRIEVANCE Duplicate.
_____ Attach commissary receipts/proof of purchase otherwise ownership for
reimbursement cannot be substantiated. Receipt must include date and price of purchase.

x Please F/U to see if he has received the items he lists in the body of the grievance and
return, Thanks POM ty bl
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Offender: // {of rire! (ee

ILLINOIS DEPARTMENT OF CORRECTIONS i \\ Ye

Administrative Review Board
Return of Grievance or Correspondence

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Last Name e First Name Mi

Facility: (07 se se ‘an

[7] Grievance: Facility Grievance # (it applicable) Dated: (2/4 4/9 or (] Correspondence: Datea:

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Received: /2/ 2.7/4 Regarding: ( cuM yy Soper tea (er dy; fee ELE ( (

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Date

The attached grievance or correspondence is being returned for the following reasons:

 

Additional information required:

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Provide a copy of your written Offender’s Grievance, DOC 0046, including the counselor's response, if applicable.

Provide a copy of the Response to Offender’s Grievance, DOC 0047, including the Grievance Officer's and Chief Administrative
Officer's response, to appeal.

Provide dates of disciplinary reports and facility where incidents occurred.

Unable to determine nature of grievance or correspondence; submit additional specific information. Please return the attached
grievance or correspondence with the additional information requested to: Administrative Review Board

Office of Inmate Issues

1301 Concordia Court

Springfield, IL 62794-9277

 

 

Misdirected:
(1 Contact your correctional counselor regarding this issue.
(_] Request restoration of Statutory Sentence Credits to Adjustment Committee. If the request is denied by the facility, utilize the
offender grievance process outlined in Department Rule 504 for further consideration.
[-] Contact the Record Office with your request or to provide additional information.
(] Personal property issues are to be reviewed at your current facility prior to review by the Administrative Review Board.
(J Address concerns to: Ilinois Prisoner Review Board

319 E. Madison St., Suite A
Springfield, iL 62706

 

 

No further redress:

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Award of Supplemental Sentence Credits are discretionary administrative decisions; therefore, this issue will not be addressed
further.

Not submitted in the timeframe outlined in Department Rule 504; therefore, this issue will not be addressed further.

This office previously addressed this issue on
Date

No justification provided for additional consideration,

 

 

Other (specify):

 

 

 

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Completed by: Debbie Knauer Lhe ff (ARIELLE /

Distribution: Offender Printed on Reis tes Pager

Print Name Signature Date

DOC 0070 (Rev.4/2013)

inmate Issues

 
